       Case 3:21-cv-05227-JD Document 522-1 Filed 12/18/23 Page 1 of 5



 1   Paula L. Blizzard (SBN 207920)
     OFFICE OF THE ATTORNEY GENERAL
 2   CALIFORNIA DEPARTMENT OF JUSTICE
 3   455 Golden Gate Avenue
     Suite 11000
 4   San Francisco, CA 94102
     Telephone: (415) 510-3765
 5   Paula.Blizzard@doj.ca.gov
 6   Attorney for State of California
 7

 8

 9
                                UNITED STATES DISTRICT COURT
10                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
11

12
     IN RE GOOGLE PLAY STORE                       Case No. 3:21-cv-05227-JD
13   ANTITRUST LITIGATION

14                                                 DECLARATION OF
     THIS DOCUMENT RELATES TO:                     PAULA L. BLIZZARD
15                                                 IN SUPPORT OF STATES’
     State of Utah et al. v. Google LLC et al.,    UNOPPOSED MOTION TO GIVE
     Case No. 3:21-cv-05227-JD                     NOTICE OF PROPOSED
16
                                                   PARENS PATRIAE SETTLEMENT
17
                                                   Judge: Hon. James Donato
18

19

20

21

22

23

24

25

26

27

28
                                                                   Case No. 3:21-cv-05227-JD
      DECLARATION OF PAULA L. BLIZZARD IN SUPPORT OF STATES’ UNOPPOSED MOTION TO GIVE
                      NOTICE OF PROPOSED PARENS PATRIAE SETTLEMENT
         Case 3:21-cv-05227-JD Document 522-1 Filed 12/18/23 Page 2 of 5



 1           I, Paula L. Blizzard, declare as follows:

 2           1.       I am a Senior Assistant Attorney General and the leader of the Antitrust Section at the

 3   Office of the Attorney General, California Department of Justice. I have over 20 years of experience

 4   practicing and overseeing the practice of antitrust and competition law, both in government at the

 5   state and federal levels, as well as in private practice.

 6           2.       I make this Declaration In Support of the States’ Unopposed Motion to Give Notice

 7   of Proposed Parens Patriae Settlement in this action. I have had a leadership role on the multistate

 8   team prosecuting this matter throughout the litigation, and I was one of the five State representatives

 9   leading the mediation effort. I have personal knowledge of the facts stated below, and if called as a

10   witness, I could testify truthfully and completely to the matters set forth herein.

11           3.       Attached as Exhibit A to this declaration is a true and correct copy of the Settlement

12   Agreement fully executed by the States and territories, counsel for the individual Consumers, and

13   Google.

14           4.       Attached as Exhibit B to this declaration is a true and correct copy of excerpts from

15   the PowerPoint presentation prepared by Dr. Marc Rysman for use at the August 1, 2023 concurrent

16   expert proceeding.

17           5.       Throughout the mediation process, representatives for the States worked diligently to

18   ensure that any settlement would include strong injunctive relief that would open up the relevant

19   markets to competition.

20           6.       As part of the effort to ensure that the States obtained the strongest injunctive relief

21   possible, the mediation team formulated the States’ opening demands in consultation with a technical

22   expert who advised the team on what changes to Google’s business and technology might be feasible

23   and impactful.

24           7.       The mediation process began in July 2022 with the agreement by the parties on Judges

25   Daniel Weinstein and Rebecca Westerfield as the mediators. An initial substantive session was held

26   in August 2022 over a Zoom teleconference and was moderated by Judges Daniel Weinstein and

27   Rebecca Westerfield, with counsel for the States, Consumer Counsel, and Google participating.

28   Various teleconference and phone conference sessions followed.
                                                         -1-        Case No. 3:21-cv-05227-JD
           DECLARATION OF PAULA L. BLIZZARD IN SUPPORT OF STATES’ UNOPPOSED MOTION
                   TO GIVE NOTICE OF PROPOSED PARENS PATRIAE SETTLEMENT
         Case 3:21-cv-05227-JD Document 522-1 Filed 12/18/23 Page 3 of 5



 1          8.         The first in-person mediation session was held in October 2022. That session lasted

 2   two full days. Once again, Judges Daniel Weinstein and Rebecca Westerfield moderated, and counsel

 3   for the States, the Consumers, and Google participated.

 4          9.         The five representatives for the States at the mediation sessions were all senior leaders

 5   in each State’s attorney general’s office: Melissa Holyoak, the Solicitor General for the State of Utah;

 6   Paula L. Blizzard, Senior Assistant Attorney General for the Antitrust Section for the State of

 7   California; Elinor Hoffmann, Antitrust Chief for the State of New York; Sarah Boyce, Deputy

 8   Attorney General and General Counsel for the State of North Carolina; and David McDowell,

 9   Consumer Protection & Antitrust Chief for the State of Tennessee.

10          10.        The mediation process continued throughout the next eleven months. Judges Daniel

11   Weinstein and Rebecca Westerfield continued to moderate, and counsel for the States, the Consumers,

12   and Google continued to participate in many audio and video teleconferences. While most of these

13   mediation sessions were virtual, the parties met for a two-day, in-person session in late July 2023.

14          11.        The mediating parties started coalescing around a set of terms in late July 2023.

15          12.        The parties continued to negotiate the final details of the settlement through late

16   August. The States simultaneously were preparing to go to trial if the settlement were to fall apart.

17          13.        In late August, the Court granted Google’s motion to exclude the testimony of the

18   Consumer Class’s expert, Dr. Hal Singer, and indicated its intention to decertify the Consumer Class.

19          14.        To ensure that consumers who were part of the previously certified consumer class

20   were still able to receive recourse and to give Google the global peace it sought, the States expanded

21   their coalition to include all fifty States, as well as the District of Columbia, Puerto Rico, and the

22   Virgin Islands.

23          15.        Over the 2023 Labor Day weekend, the States, counsel for the individual Consumers,

24   and Google reached tentative settlement terms, although these terms were still subject to AG approval

25   in every jurisdiction.

26          16.        On September 5, 2023, the States, Consumers, and Google notified the Court that they

27   had reached a settlement in principle.

28
                                                        -2-         Case No. 3:21-cv-05227-JD
           DECLARATION OF PAULA L. BLIZZARD IN SUPPORT OF STATES’ UNOPPOSED MOTION
                   TO GIVE NOTICE OF PROPOSED PARENS PATRIAE SETTLEMENT
         Case 3:21-cv-05227-JD Document 522-1 Filed 12/18/23 Page 4 of 5



 1          17.     On October 12, 2023, the States notified the Court that all 53 Attorneys General had

 2   approved the settlement, although final signatures and formatting were still being addressed.

 3          18.     On November 17, 2023, the States notified the Court that the settlement had been

 4   finalized and fully executed.

 5          19.     The States’ mediation team believes that the Settlement’s terms provide significant

 6   monetary relief to consumers in all fifty states as well as the District of Columbia, Puerto Rico, and

 7   the Virgin Islands, and contain robust injunctive terms that thoroughly address the anticompetitive

 8   effects of Google’s unlawful conduct.

 9

10          I declare under the penalty of perjury under the laws of the State of California and the United

11   States that the foregoing is true and correct.

12

13   Executed on December 18, 2023 in San Francisco, California.

14

15

16

17
                                                            PAULA L. BLIZZARD
18

19
20

21

22

23

24

25

26

27

28
                                                      -3-           Case No. 3:21-cv-05227-JD
           DECLARATION OF PAULA L. BLIZZARD IN SUPPORT OF STATES’ UNOPPOSED MOTION
                   TO GIVE NOTICE OF PROPOSED PARENS PATRIAE SETTLEMENT
         Case 3:21-cv-05227-JD Document 522-1 Filed 12/18/23 Page 5 of 5



 1                                         E-FILING ATTESTATION

 2          I, Jessica V. Sutton, am the ECF User whose ID and password are being used to file this

 3   document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that the signatory identified

 4   above has concurred in this filing.

 5

 6                                                 /s/ Jessica V. Sutton
                                                   Jessica V. Sutton
 7

 8

 9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28
                                                     -4-            Case No. 3:21-cv-05227-JD
           DECLARATION OF PAULA L. BLIZZARD IN SUPPORT OF STATES’ UNOPPOSED MOTION
                   TO GIVE NOTICE OF PROPOSED PARENS PATRIAE SETTLEMENT
